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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA


                                   CRIMINAL MINUTES -GENERAL
 Case No. 2:21-cr-66-FLA (2)                                                Date     Apri128, 2021
 Title          United States v. Tony Carr


 Present: The Honorable Steve Kim, U.S. Magistrate Judge
                    Connie Chung                                              n/a
                    Deputy Clerk                                    Court Reporter /Recorder
            Attorneys Present for Government:                  Attorneys Present for Defendant:
                          n/a                                                  n/a
 Proceedings:             (IN CHAMBERS)ORDER OF DETENTION

           The Court conducted a detention hearing on:
       ~      The motion of the Government[18 U.S.C. § 31420(1)] in a case allegedly
involving: a narcotics or controlled substance offense with maximum sentence of ten or more
years.
       O      The motion of the Government or on the Court's own motion [18 U.S.C.
§ 3142(fl(2)] in a case allegedly involving: a serious risk that the defendant will flee.
       D      The Court concludes that the Government is entitled to a rebuttable presumption
that no condition or combination of conditions will reasonably assure the defendant's
appearance as required and the safety of any person or the community [18 U.S.C. § 3142(e)(3)].
       D     The Court finds that the defendant ❑ has D has not rebutted the presumption
under 18 U.S.C. § 3142(e)(3) by sufficient evidence to the contrary.
                                             * **

           The Court finds that no condition or combination of conditions will reasonably assure:
                 D the appearance of the defendant as required (as proven by a preponderance of
                 the evidence).
                 ~ the safety of any person or the community (as proven by clear and convincing
                 evidence).




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                              CENTRAL DISTRICT OF CALIFORNIA


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      The Court bases its findings (in addition to any made on the record at the hearing) on the
following grounds:
            As to risk of non-appearance:
                  ❑      Lack of bail resources or financially responsible sureties
                  ❑      Refusal to interview with Pretrial Services
                  ❑      No stable residence or employment
                  ❑      Previous failure to appear or violations of probation, parole, or release
                  ❑      Ties to foreign countries
                  ~      Unrebutted presumption [18 U.S.C. § 3142(e)]
                  ❑      Weight of the evidence
                  ❑      Length of potential incarceration if convicted
                  ❑      History of alcohol or substance abuse
                  ❑      Lack of significant community or family ties to this district
                  ❑      Lack of legal status in the United States
                  ❑      Use of aliases) or false documents
                  ❑      Prior attempts) to evade law enforcement
                  ❑      Subject to removal or deportation after serving any period of incarceration
                  D      Reasons set forth in PTS Report adopted by Court



            As to danger to the community:
                  ❑      Nature of previous criminal convictions or prior criminal history
                  ❑      Allegations in present charging document
                  ❑      History of alcohol or substance abuse
                  ❑      Already in custody on state or federal offense
                  ~      Unrebutted presumption [18 U.S.C. § 3142(e)]
                  ❑      History of violence or use of weapons




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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                               CRIMINAL MINUTES -GENERAL
 Case No.    2:21-cr-66-FLA (2)                                        Date   Apri128, 2021
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              ❑      Participation in criminal activity while on probation, parole or release
              ~      Reasons set forth in PTS Report adopted by Court


       In reaching this decision, the Court considered:(a)the nature and circumstances of the
offenses) charged, including whether the offense is a crime of violence, a federal crime of
terrorism, or involves a minor victim or a controlled substance, firearm, explosive, or destructive
device;(b)the weight of evidence against the defendant;(c) the history and characteristics of the
defendant; and (d)the nature and seriousness of the danger to any person or the community.
[18 U.S.C. § 3142(g)] The Court also considered the evidence presented at the hearing, the
arguments of counsel, and the report and recommendation of the U.S. Pretrial Services Agency.
       IT IS THEREFORE ORDERED that the defendant be detained until trial. The
defendant will be committed to the custody of the Attorney General for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal. The defendant will be afforded reasonable
opportunity for private consultation with counsel. On order of a Court of the United States or on
request of any attorney for the Government, the person in charge of the corrections facility in
which defendant is confined will deliver the defendant to a United States Marshal for the
purpose of an appearance in connection with a court proceeding. [18 U.S.C. § 3142(1)]




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